                    Case: 1:21-mj-00825-SKB Doc #: 1 Filed: 11/08/21 Page: 1 of 5 PAGEID #: 1
 AO 106 (Rev. 04/10) Application for a Search Warrant



                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                               Southern District of Ohio

               In the Matter of the Search of                                )
          (Briefly describe the property to be searched                      )
           or identijj, the person by name and address)                                  Case No.     1:21-MJ-00825
                                                                             )
            Priority Mail Parcel bearing Tracking Number                     )
 9505 5159 0 I96 1306 3822 95, addressed to Tiffany, 1849 Clearbrook
  DR , BuRlington, KY 41005 with a return address of Becky & Ace,            )
               6030 Scotts Valley Rd, lakeport ca 95453                      )

                                              APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):
   Priority Mail Parcel bearing Tracking Number 9505 51590196 1306 3822 95, addressed to Tiffany, 1849 Clearbrook DR., BuRlington, KY 41005 with a return
                                               address of Becky & Ace, 6030 Scotts Valley Rd, lakeport ca 95453

 located in the - - -Southern District of - - - - - -Ohio
                                                      -------
                                                              , there is now concealed (identify the
                     -----~
 person or describe the property to be seized):
 A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in violation of Title
 2 l , United States Code, Section 84l(a)(l).

           The basis for the search under Fed . R. Crim. P. 41 ( c) is (check one or more):
                  [8J evidence of a crime;
                  [g] contraband, fruits of crime, or other items illegally possessed;
                  D    property designed for use, intended for use, or used in committing a crime;
                  D    a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of: Title 21
          Code Section                                                                   Offense Description
 21 U.S.C. 841 (a) (1)                            Possession with intent to distribute a controlled substance


           The application is based on these facts:
 See attached affidavit of U.S . Postal Inspector Alan J. Wilkins

            [8J Continued on the attached sheet.
            D     Delayed notice                  days (give exact ending date if more than 30 days: - - - - - - ) is requested
                  under 18 u.s.c. § J lOJa, the basis of which is set forth on the attal                      hi w " 4


                                                                                                         Applit ant 's signature

                                                                                            Alan J. Wilkins, U.S. Postal Ins ector
                                                                                                         Printed name and title

  Sworn to before me and signed in my presence.
via electronic means, specifically Facetime video.

 Date:              Nov 8, 2021
                                                                                                           Judge's signature
                                                                                                    Stephanie K. Bowman
 City and state: Cincinnati, Ohio
                                                                                                United States Magistrate Judge
                                                                                                                             ~------
                                                                                                         Printed name and title
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                                        AFFIDAVIT

     I, Alan J. Wilkins, having been duly sworn, depose and state:

1.   I am a United States Postal Inspector with the United States Postal Inspection Service
     (USPIS), assigned to the Cincinnati, Ohio Field Office. I have been employed by the
     United States Postal Inspection Service since June 1, 2013. I have investigative
     responsibility for southwest Ohio and northern Kentucky. Part of my investigative
     responsibility involves the use of the United States Mail in the illegal transporting of
     narcotics and other dangerous controlled substances and financial proceeds relating
     thereto.

2.   I have gained experience through completion of the Basic Inspector Training (BIT) in
     August of 2013. During BIT training, I was instructed in all phases of criminal
     investigation such as: criminal law, search and seizure, field enforcement techniques,
     firearms proficiency, drug and narcotics identification, drug and narcotics field testing,
     interviewing and evidence collection.      Since June 2013 I have worked with various
     federal, state, and local law enforcement agencies in the prosecution of crimes involving
     the U.S. Mail and the U.S. Postal Service including but not limited to mail fraud, bank
     fraud, mail theft, burglaries, robberies, homicides, dangerous mail investigations, and
     mailed narcotics.


3.   This Affidavit is made in support of a search warrant for the following property, namely
     the package associated with the following United States Postal Service ("USPS") Priority
     Mail Parcel bearing Tracking Number:

            a.      9505 5159 0196 1306 3822 95 (the "Subject Package")

     This Affidavit is made in support of a warrant to search the Subject Package for
     evidence of a crime as well as contraband, fruits of a crime or other items illegally
     possessed in relation to the following offense:

     a.     Possession with Intent to Distribute Controlled Substances, in violation of Title
            21, United States Code,§ 841.

     Because this Affidavit is submitted in support of the application of the United States to
     search the Subject Package, it does not include every fact known concerning this
     investigation. I have set forth facts and circumstances that I have relied upon to establish
     probable cause to justify the issuance of a warrant to search the Subject Package. The
     Subject Package is currently being held at the USPIS Cincinnati Field Office.

4.   Based on my training and experience, I have become aware that drug traffickers
     frequently use Priority Mail Express and/or Priority Mail, services offered by the USPS,
     to transport narcotics and other dangerous controlled substances. As a result of
     investigations and successful controlled substance prosecutions where Priority Mail
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     Express and/or Priority Mail were used, I have learned of certain characteristics
     associated with other Priority Mail Express and/or Priority Mail items previously
     identified as containing narcotics or other dangerous controlled substances. Some of
     these characteristics include (but are not necessarily limited to or used on every
     occasion): false or non-existent return address, addressee is not known to receive mail at
     the listed delivery address, the package is heavily taped, the package is mailed from a
     known drug source location, labeling information contains misspellings, the label
     contains an illegible waiver signature, unusual odors emanating from the package, and
     the listed address is located in an area of known or suspected drug activity. It is known
     by your affiant that parcels containing illegal narcotics are often addressed to vague,
     misspelled, or incomplete names in an eff01i for narcotics traffickers to further conceal
     their identity.

5.   On or about November 4, 2021, U.S. Postal Inspectors identified and intercepted the
     Subject Package from the Cincinnati Network Distribution Center located within the
     Southern District of Ohio.

     The Subject Package is further described as:

            Priority Mail Parcel bearing Tracking Number: 9505 5159 0196 1306 3822 95
            Weighing approximately 1 pounds and 9.7 ounces in a white box with dimensions
            of 11.25"x8.75"x6". Postage paid was $16.25.

            Sender:        Becky & Ace
                           6030 Scotts Valley Rd
                           lakeport ca 95453

            Addressee:     Tiffany
                           1849 Clearbrook DR.
                           BuRlington, KY 41005


6.   I observed the Subject Package and reviewed USPS tracking information, which
     indicated it was mailed from the Lakeport Post Office, Lakeport, CA 95453, on
     November 2, 2021. All seams of the package are taped.

7.   I searched the CLEAR database for the listed return address of the Subject Package.
     CLEAR is an investigative platform available to law enforcement and other government
     investigators that contains public-record data about people and businesses. The
     information obtained from the system indicated that there are no residents named Becky
     or Ace associated with that address.

8.   I searched the CLEAR database for the listed addressee of the Subject Package. The
     information obtained from the system indicated that there is resident at the address named
     Tiffany Craft.




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9.     On or about November 5, 2021, a U.S. Postal Inspector arranged for Deputy Nick Poole,
       Hamilton County Sheriffs Office, to utilize a narcotics canine to check the Subject
       Package. Deputy Poole and his canine "Akim" are a currently certified narcotics team.
       The team is certified by the Ohio Peace Officer Training Commission and the Ohio
       Office of the Attorney General. Deputy Poole reports that "Akim" passed all of his
       examinations and has successfully located hidden drugs in the past; I therefore consider
       "Akim" to be reliable. Postal Inspectors met Deputy Poole at the USPIS Cincinnati Field
       Office, where the Subject Package was placed in a separate office among several other
       similar packages and presented to "Akim", who alerted positively to the presence or odor
       of a controlled substance upon the Subject Package. Attached to this Affidavit, and
       incorporated by reference, is a photocopy of the narcotic canine handler's record of
       examination.

10.    Based upon my experience and training, this information, along with the positive alert of
       narcotic canine "Akim," is indicative of the Subject Package containing narcotics or
       proceeds relating thereof.

11.    Based upon the information contained in this Affidavit, I believe that there is probable
       cause to believe that the Subject Package will contain evidence and/or contraband, fruits
       of crime, or other items illegally possessed. Therefore, a search warrant to open the
       Subject Package is requested.


                                            Further, your Affiant sayeth naught.



                                            Alan J. Wilkins
                                            U.S. Postal Inspector



                                             8th
Subscribed and sworn to and before me this _ _ _ day of November 2021.
via electronic means, specifically Facetime video.


     ~~l{&w-ma_u
Stephanie K. Bowman
United States Magistrate Judge




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      United States Postal Inspection Service
      Pittsburgh Division




                                                OFFICER AFFIDAVIT



 I, DEPUTY N. POOLE, AM, AND HAVE BEEN, EMPLOYED BY THE HAMILTON COUNTY SHERIFF'S

 OFFICE, SINCE 2004. AMONG OTHER DUTIES, I AM CURRENTLY THE ASSIGNED HANDLER OF

 NARCOTICS DETECTION             CANINE    "AKIM", WHICH   IS TRAINED   AND CERTIFIED IN THE

 DETECTION OF THE PRESENCE OR ODOR OF NARCOTICS DESCRIBED AS FOLLOWS :

 Marijuana, Cocaine, Heroin, Methamphetamines, and their derivatives

 ON 11/5/2021, AT THE REQUEST OF POSTAL INSPECTOR A. KREMER I RESPONDED TO THE US

 POSTAL INSPECTION SERVICE CINCINNATI FIELD OFFICE WHERE "A KIM " DID ALERT TO AND

 INDICATE UPON THE FOLLOWING DESCRIBED ITEM:




 USPS Priority Mail, USPS Tracking Number: 9505 5159 0196 1306 3822 95,

 addressed to Tiffany, 1849 Clearbrook DR., BuRlington, KY 41005 with a return

 address of Becky & Ace, 6030 Scotts Valley Rd, lakeport ca 95453.

 BASED ON MY TRAINING AND EXPERIENCE AND THAT OF "AKIM", I CONSIDER THE ABOVE

 DESCRIBED ITEM TO CONTAIN WITHIN OR UPON THE PRESENCE OR ODOR OF A NARCOTIC OR

 OTHER DANGEROUS CONTROLLED SUBSTANCE.


     ~.,,,,,,,..---
          (Signature and Date)            //- S--: Z/




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